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__________________________________________________________________
                                               SO ORDERED,



                                               Judge Katharine M. Samson
                                               United States Bankruptcy Judge
                                               Date Signed: April 30, 2018

              The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

IN RE: BARRY D. HOWSE                                                     CASE NO. 17-51686-KMS
DEBTOR                                                                               CHAPTER 7

BUSINESS PROPERTY LENDING, INC.                                                         PLAINTIFF

v.                                                                ADV. PROC. NO. 17-06065-KMS

BARRY D. HOWSE                                                                       DEFENDANT

         ORDER GRANTING MOTION OF BUSINESS PROPERTY LENDING, INC.
          FOR ADDITIONAL TIME TO RESPOND TO DISCOVERY REQUESTS

        THIS MATTER is before the Court on the Motion Of Business Property Lending, Inc. for

Additional Time to Respond to Discovery Requests (Dkt. # 13, the “Motion”) ﬁled by Business

Property Lending, Inc. (“BPL”). e Court, having considered the Motion and the record herein,

and being otherwise fully advised in the premises, ﬁnds that the Motion is well taken and should

be granted.

        IT IS THEREFORE ORDERED AND ADJUDGED, under Fed. R. Bankr. P. 7033(b)(2),

7034(b)(2)(A), and 7036(a)(3), that BPL shall be permied an additional 21 days within which to

respond to Defendant’s Combined Discovery Request served by Debtor-Defendant Barry D.

Howse.

                                      ##END OF ORDER##
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PREPARED AND SUBMITTED BY:

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